Case 2:05-cr-20110-.]DB Document 114 Filed 09/02/05 Page 1 of 4 Page|D 121

Fn.Eo st W_ D_C_
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT 01= TENNESSEE 05 SEP -2 PH 3= l 0
AT MEMPHIS

  

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UNITED STATES OF AMERICA ) t - e‘.=";:."£r 33
Plaintiff )
)

. vs ) NO. 05»20} 10 JDB

)
OMRAN OMER, et al. )
Defendants )

 

ORDER DISMISSING MOTION WITHOUT PREJUDICE
TO ALLOW THE DEFENDANT 'I`O TRAVEL OUT OF
'I`I-IE COUNTRY

 

lt appearing to the Court that the defendant through his counsel filed a motion to allow him
to travel out of the country.

It further appears that the defendant has requested that the motion be dismissed without
prejudice

For good cause shown, the Court is of the opinion that the defendant’s request to have his
motion dismissed without prejudice is well taken and shouid be granted

I'l" IS THEREFORE ORDERED, ADJUDGED AND DECREED that the defendant’s

motion to be allowed to travel out of the country is dismissed without prejudice

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/C:QQQ,\

' Tu M. Pham
United States Magistrate Judge

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with Ru\e 55 and/or 32{&:) FF\GrP on “

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APPROVED FOR ENTRY:

WE[NMAN & ASSOCIATES

 

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Attorney for Defendant

CERTIFICATE OF SERVICE

l, Bernie Weinman, attorney for the defendant, hereby certifies that I mailed a true,

complete and exact copy of the foregoing document by depositing the same in the United States
Mail, postage prepaid, addressed to:

Fred Godwin

U.S. Attorney’s Oi‘i`lce
167 North Main Street
Suite 800

Memphis, TN. 33103

martha j dany §e,yJ-_ ,2005

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UNITED `sTEATS DSTIRIC COUR - WESTRNE DSTRCT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 114 in
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Honorable J. Breen
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